Case 1:16-cr-20893-FAM Document 101 Entered on FLSD Docket 01/29/2018 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                                 Southern District of Florida

                        Case Number 16-20893-CR-MORENO(s)

  United States of America,

  vs.

  MONTY RAY GROW,

               Defendant.
                                        /


                      GOVERNMENT’S FINAL WITNESS LIST

        The United States hereby files its final witness list.

               1.      Ginger E. Lay

               2.      Philip G. Snodgrass

               3.      Blair W. Von Letkemann

               4.      James W. Featherston

               5.      Jennifer Klein

               6.      Lisa Klitz

               7.      Robin S. Halliburton

               8.      Amanda B. Donnelly

               9.      Nicole Carter Powell

               10.     Rosa Linda Rambaran

               11.     Rashaan R. Rambarran

               12.     Jill M. Cichowicz

               13.     Josie Brundige
Case 1:16-cr-20893-FAM Document 101 Entered on FLSD Docket 01/29/2018 Page 2 of 2




              14.   Michael K. Ewton

              15.   Armando M. Lozada

              16.   Sven B. Bjerke

              17.   Ankush Kumar Bansal

              18.   Jonelle Coronado

              19.   Keith R. Tighe

              20.   Gary J. Walker




                                          Respectfully submitted,

                                          RANDY A. HUMMEL
                                          ATTORNEY FOR THE UNITED STATES
                                          ACTING UNDER AUTHORITY CONFERRED
                                          BY 28 U.S.C. § 515


                                       By: /s Kevin J. Larsen
                                          Kevin J. Larsen
                                          Assistant United States Attorney
                                          Court No. A5501050
                                          99 Northeast 4th Street, 4th Floor
                                          Miami, Florida 33132-2111
                                          Telephone: (305) 961-9356
                                          Fax: (305) 536-4699
                                          Email: kevin.larsen@usdoj.gov
